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AO 450 (SCD 04/2010) Judgment in a Civil Action


                             UNITED STATES DISTRICT COURT
                                                               for the
                                                   District of South Carolina


               Smitha Patrice Littlejohn                              )
                           Plaintiff
                                                                      )
                      v.                                                       Civil Action No. 4:20-cv-2742-TER
                                                                      )
       Commissioner of the Social Security
                                                                      )
               Administration
                          Defendant                                   )

                                JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

’ the plaintiff (name)                      recover from the defendant (name)                          the amount of

dollars ($    ), which includes prejudgment interest at the rate of       %, plus postjudgment interest at the rate of   %, along

with costs.

’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)

recover costs from the plaintiff (name)                                    .

O other: The Commissioner’s decision is reversed pursuant to sentence four of 42 U.S.C. §

405(g), and the case is remanded to the Commissioner for further administrative action.


This action was (check one):

’ tried by a jury, the Honorable                               presiding, and the jury has rendered a verdict.


’ tried by the Honorable                           presiding, without a jury and the above decision was reached.

O decided by the Honorable Thomas E. Rogers, III, United States District Judge.

                                                                            ROBIN L. BLUME
Date:         October 6 , 2021                                             CLERK OF COURT


                                                                           s/ Glenda J. Nance
                                                                                  Signature of Clerk or Deputy Clerk
